                  Case 4:06-cr-00104-JMM          Document 382                Filed 06/05/12   Page 1 of 4

PROB lUI
EDIAR (IZI2010)                                                                                       FILED
                                                                                                    U.S. DISTRICT COURT
                                                                                                EASTERN DISTRICT ARKANSAS

                                      United States District Court
                                                          for the
                                                                                                               ACK, CLERK
                                         Eastern District of Arkansas
                                                                                                                   DEP CLERK

                        Request for Modifying the Conditions or Term of Supervision
                                       with Consent of the Offender
                                     (Pr~~IHidon Form 4,, Jf'olwr ofHurlfll Is Alltlched)




  Name of Offender: Courtney Zrone Johnson                                    Case Number: 4:06CR00104-001 JMM
  Name of Sentencing Judicial Officer:         Honorable James M. Moody
                                               United States District Judge
  Offense~                   Conspiracy to Make and Possess Counterfeit Checks
  Date of Sentence:          September 14, 2007
  Sentence:                  40 months Bureau of Prisons followed by a consecutive term of20 months
                             Bureau of Prisons in 4:03CR00225-001 JMM, 3 years supervised release,
                             substance abuse treatment, mandatory drug testing, mental health treatment,
                             financial disclosure, no new lines of credit, no employment in an institution
                             insured by the FDIC or a Federal Credit Union, DNA, $57,931.40 restitution,
                             and $1 00 special penalty assessment
  Type of Supervision:       Supervised release             Date Supervision Commenced: December 21, 2009
                                                            Expiration Date: December 20, 2012
  Asst. U.S. Attorney: Jana Harris                          Defense Attorney: To be appointed
  U.S. Probation Officer: Satori Barnes
  Phone No.: 501-604-5268


                                        PETITIONING THE COURT

To modify the conditions of supervision as follows:

            During supervised release, payments will be SSO per month. If defendant's income
            increases from its current amount, payments will be 10 percent per month of the
            defendant's monthly gross income.

                                                         CAUSE

Mr. Johnson completed a monthly cash flow statement which revealed a current monthly income of
$I ,200 with monthly expenses of $1, I50.50. Based on his current financial status, Mr. Johnson is
unable to make restitution payments based on I0% of his gross monthly income. Mr. Johnson's financial
situation will continue to be reviewed and payments based on 10% of his gross monthly income will
resume should his financial status improve.
            Case 4:06-cr-00104-JMM          Document 382           Filed 06/05/12       Page 2 of 4

Prob 12B                                            -2-                             Request for Modifying the
                                                                           Conditions or Tenus of Supervision
                                                                                 with Consent of the 01Tender

Name of Offender: Courtney Zronc Johnson                            Case Number: 4:06CROOI04-001 JMM

On May 30. 2012, Assistant Federal Public Defender Kim Driggers was contacted telephonically to
review the waiver of hearing to modify conditions of supervised release with Mr. Johnson. On May 30.
2012, Mr. Johnson signed a Prob 49, Waiver of Hearing to Modify Conditions of Supervised Release,
agreeing to the modification.




                                                                 Jana Harris
 U.S. Probation Ofliccr                                          Assistant U.S. Attorney

 Date: May 30, :w 12                                             Date:      La - L-f - I L

This ftlrm is to be filed with Criminal Docketing as a motion.



THE COURT ORDERS:
f ]    No Action
[ j    The Extension of Supervision as Noted Above
l((l   The Modification of Conditions as 1\otcd Above
f J    Other
                                                            ~ VV\ VVlre~~
                                                              Stgnaturc of Judicial Officer

                                                                         '=>I~!\ '2--
                                                              Date

This form is to be tiled with Criminal Docketing us an order and/or petition.

Approved:
           Case 4:06-cr-00104-JMM         Document 382        Filed 06/05/12     Page 3 of 4

Prob 12B                                         -3-                        Request for Modifying the
                                                                   Conditions or Terms of Supervision
                                                                         with Consent of the Offender

Name of Offender: Courtney Zrone Johnson                      Case Number: 4:06CR001 04·001 JMM
SYB/jkr

c: Assistant Federal Public Defender, Jenniffer Horan, 1401 West Capitol Avenue, Suite 490, Little
   Rock, AR 7220 I
   Assistant U.S. Attorney, Jana Harris, P.O. Box 1229, Little Rock, AR 72203
   U.S. Attorney's Office, Financial Litigation Unit, P.O. Box 1229, Little Rock, AR 72203
       Case 4:06-cr-00104-JMM              Document 382           Filed 06/05/12        Page 4 of 4




P.ROB-19
                                    Waiver of Hearing to ModifY Conditions
                        of Probation/Supervised Release or Extend Tenn of Supervision

                         UNITED STATES DISTRICT COURT
                                     for the
                         EASTERN DISTRICT OF ARKANSAS
       I have been advised and understand that I am entitled by law to a hearing and assistance
of counsel before any unfavorable change may be made in my Conditions of Probation and
Supervised Release or my period of supervision being extended. By 'assistance of counsel', I
understand that I have the right to be represented at the hearing by counsel of my own choosing if
I am able to retain counsel. I also understand that I have the right to request the Court to appoint
counsel to represent me at such a hearing at no cost to myself ifl am not able to retain counsel of
my own choosing.

        I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I
also agree to the following modification of my Conditions of Probation and Supervised Release
or to the proposed extension of my term of supervision:

           During supervised release, payments will be $50 per month, If defendant's income
           increases from its current amount, payments will be 10 percent per month of the
           defendant's monthly gross income.




 Witness=      4.d:. a ...
                    0:Probation Officer

                                                   DATE
